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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION


JESSE CARTER, individually and on behalf
of all others similarly situated,

                                Plaintiff,

v.                                                         Case No. 6:19-cv-00378-RBD-GJK

GREEN CASH LLC, a foreign corporation, and
WD SERVICES, LLC, a foreign corporation.

                                Defendants.


                                   CASE MANAGEMENT REPORT

       The parties have agreed on the following dates and discovery plan pursuant to Fed. R. Civ.

P. 26(f) and Local Rule 3.05(c):

 DEADLINE OR EVENT                                                             AGREED DATE
 Mandatory Initial Disclosures                                                   June 17, 2019
 Certificate of Interested Persons and Corporate Disclosure Statement              Completed
 Motions to Add Parties or to Amend Pleadings                                     July 17, 2019




 Motion for Class Certification                                                February 1, 2020
 Response to Motion for Class Certification                                     March 1, 2020
 Reply to Response                                                              March 15, 2020
 Disclosure of Expert Reports                             Plaintiff:             May 21, 2020
                                                         Defendant:              June 21, 2020



 Discovery Deadline                                                             August 21, 2020
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 DEADLINE OR EVENT                                                            AGREED DATE
 Dispositive Motions, Daubert, and Markman Motions                              September 22,
                                                                               2020 or 30 days
                                                                               after Order on
                                                                                    Class
                                                                                Certification,
                                                                              whichever is later
 Joint Final Pretrial Statement (Including a Single Set of Jointly-Proposed
 Jury Instructions, Verdict Form and Voir Dire Questions emailed to            January 4, 2021
 chambers_FLMD_Dalton@flmd.uscourts.gov in Word format), Witness
 Lists, Exhibit Lists with Objections on Approved Form) Trial Briefs
 [Court recommends 4 weeks before Final Pretrial Conference]
 All Other Motions Including Motions In Limine                                January 11, 2021
 Final Pretrial Conference [Court will set a date that is approximately 3     To be determined
 weeks before trial]                                                              by Court
 Trial Term Begins                                                               March 2021
 Estimated Length of Trial                                                         5 Days
 Jury / Non-Jury                                                                 Jury Trial
 Mediation                                                   Deadline:         September 21,
                                                             Mediator:             2020
                                                             Address:

                                                           Telephone:


 All Parties Consent to Proceed Before Magistrate Judge                       Yes____
                                                                              No_X___

                                                                              Likely to Agree in
                                                                              Future _____
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I.     Meeting of Parties in Person

       Lead counsel must meet in person and not by telephone absent an order permitting

otherwise. Counsel will meet in the Middle District of Florida, unless counsel agree on a different

location. Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), a meeting was held via telephone

conference pursuant to the Court’s ENDORSED ORDER granting [26] Joint Motion to Conduct

Case Management Conference by Telephone, on May 17, 2019 at 2:30 p.m. (EST) and was

attended by:

               Name                                         Counsel for (if applicable)

               Jacob Phillips                               Plaintiff
               Ed Normand                                   Plaintiff
               Danielle Newman                              Defendant


II.    Pre-Discovery Initial Disclosures of Core Information

       Fed.R.Civ.P. 26(a)(1)(A) - (D) Disclosures

       Fed.R.Civ.P. 26, as amended effective December 1, 2010, provides that these disclosures

are mandatory in Track Two and Track Three cases, except as stipulated by the parties or otherwise

ordered by the Court (the amendment to Rule 26 supersedes Middle District of Florida Local Rule

3.05, to the extent that Rule 3.05 opts out of the mandatory discovery requirements):

       The parties __ have exchanged _X_ agree to exchange (check one) information described

in Fed.R.Civ.P. 26(a)(1)(A) - (D) by June 17, 2019.

       Below is a description of information disclosed or scheduled for disclosure.

       The Parties will exchange information in accordance with and pursuant to the

requirements outlined in Rule 26(a)(1)(A) – (D).

III.   Electronic Discovery
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          The parties have discussed issues relating to disclosure or discovery of electronically stored

information ("ESI"), including Pre-Discovery Initial Disclosures of Core Information in Section II

above, and agree that (check one):

          __    no party anticipates the disclosure or discovery of ESI in this case;

          _X    one or more of the parties anticipate the disclosure or discovery of ESI in this case.

          If disclosure or discovery of ESI is sought by any party from another party, then the

following issues shall be discussed: 1

          A. The form or forms in which ESI should be produced.

          B.   Nature and extent of the contemplated ESI disclosure and discovery, including

specification of the topics for such discovery and the time period for which discovery will be

sought.

          C. Whether the production of metadata is sought for any type of ESI, and if so, what types

of metadata.

          D. The various sources of ESI within a party's control that should be searched for ESI,

and whether either party has relevant ESI that it contends is not reasonably accessible under Rule

26(b)(2)(B), and if so, the estimated burden or costs of retrieving and reviewing that information.

          E. The characteristics of the party's information systems that may contain relevant ESI,

including, where appropriate, the identity of individuals with special knowledge of a party's

computer systems.

          F.   Any issues relating to preservation of discoverable ESI.

          G.   Assertions of privilege or of protection as trial-preparation materials, including

whether the parties can facilitate discovery by agreeing on procedures and, only in the unusual


           1
               See Generally: Rules Advisory Committee Notes to the 2006 Amendments to Rule 26(f) and Rule 16.
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event an agreement between the parties is insufficient, an Order under Federal Rules of Evidence

Rule 502, If the parties agree that a protective order is needed, they shall attach a copy of the

proposed order to the Case Management Report, together with a statement as to why an enforceable

agreement between the parties is not sufficient. The parties should attempt to agree on protocols

that minimize the risk of waiver. Any proposed protective order shall comply with Local Rule

1.09 and Section IV.F. below on Confidentiality Agreements.

        H. Whether the discovery of ESI should be conducted in phases, limited, or focused upon

particular issues.

        Please state if there are any areas of disagreement on these issues and, if so, summarize the

parties' positions on each:

_____________________________________________________________________

______________________________________________________________________

        If there are disputed issues specified above, or elsewhere in this report, then (check one):

        ___    one or more of the parties requests that a preliminary pre-trial conference under Rule

16 be scheduled to discuss these issues and explore possible resolutions. Although this will be a

non-evidentiary hearing, if technical ESI issues are to be addressed, the parties are encouraged to

have their information technology experts with them at the hearing.

        If a preliminary pre-trial conference is requested, a motion shall also be filed pursuant to

Rule 16(a), Fed.R.Civ.P.

        ___    all parties agree that a hearing is not needed at this time because they expect to be

able to promptly resolve these disputes without assistance of the Court.

        The Parties have agreed to work together in drafting and signing an ESI Stipulation

governing production ESI in this matter. The Parties anticipate they will be able to coming
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to such agreement without the need for court assistance and do not have any disputes at this

time.

IV.     Agreed Discovery Plan for Plaintiffs and Defendants

        A.      Certificate of Interested Persons and Corporate Disclosure Statement This

Court has previously ordered each party, governmental party, intervenor, non-party movant, and

Rule 69 garnishee to file and serve a Certificate of Interested Persons and Corporate Disclosure

Statement using a mandatory form. No party may seek discovery from any source before filing

and serving a Certificate of Interested Persons and Corporate Disclosure Statement. A motion,

memorandum, response, or other paper C including emergency motion C is subject to being

denied or stricken unless the filing party has previously filed and served its Certificate of Interested

Persons and Corporate Disclosure Statement. Any party who has not already filed and served the

required certificate is required to do so immediately.

        Every party that has appeared in this action to date has filed and served a Certificate of

Interested Persons and Corporate Disclosure Statement, which remains current:

        ___X____ Yes

        _______ No

Amended Certificate will be filed by ___________ (party) on or before __________ date).

        B.      Discovery Not Filed

        The parties shall not file discovery materials with the Clerk except as provided in Local

Rule 3.03. The Court encourages the exchange of discovery requests on diskette. See Local Rule

3.03 (f). The parties further agree as follows:

        The Parties agree that electronic service of discovery is sufficient, and discovery will

be considered serve on the day on which it is emailed to the opposing party.
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       C.      Limits on Discovery

       Absent leave of Court, the parties may take no more than ten depositions per side (not per

party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A); Local Rule 3.02(b). Absent leave of

Court, the parties may serve no more than twenty-five interrogatories, including sub-parts.

Fed.R.Civ.P. 33(a); Local Rule 3.03(a). Absent leave of Court or stipulation of the parties each

deposition is limited to one day of seven hours. Fed.R.Civ.P. 30(d)(2). The parties may agree

by stipulation on other limits on discovery. The Court will consider the parties’ agreed dates,

deadlines, and other limits in entering the scheduling order. Fed.R.Civ.P. 29. In addition to the

deadlines in the above table, the parties have agreed to further limit discovery as follows:

       The Parties agree to all limits of discovery outlined in federal and local rules, and

that no further limitations are necessary at this time.

       D.      Discovery Deadline

       Each party shall timely serve discovery requests so that the rules allow for a response prior

to the discovery deadline. The Court may deny as untimely all motions to compel filed after the

discovery deadline. In addition, the parties agree as follows:

       Nothing at this time.

       E.      Disclosure of Expert Testimony

       On or before the dates set forth in the above table for the disclosure of expert reports, the

parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert testimony on direct

examination at trial will be limited to the opinions, basis, reasons, data, and other information

disclosed in the written expert report disclosed pursuant to this order. Failure to disclose such

information may result in the exclusion of all or part of the testimony of the expert witness. The

parties agree on the following additional matters pertaining to the disclosure of expert testimony:
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       The Parties agree to the deadline as set forth above. Also, the Parties agree that to

the extent an expert offers one opinion in support of class certification and another in

support of a dispositive motion, the proffering party will not object to the opposing party

taking said expert’s deposition twice.

       F.      Confidentiality Agreements

       Whether documents filed in a case may be filed under seal is a separate issue from whether

the parties may agree that produced documents are confidential. The Court is a public forum, and

disfavors motions to file under seal. The Court will permit the parties to file documents under

seal only upon a finding of extraordinary circumstances and particularized need. See Brown v.

Advantage Engineering, Inc., 960 F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp.,

759 F.2d 1568 (11th Cir. 1985). A party seeking to file a document under seal must file a motion

to file under seal requesting such Court action, together with a memorandum of law in support.

The motion, whether granted or denied, will remain in the public record.

       The parties may reach their own agreement regarding the designation of materials as

“confidential.” There is no need for the Court to endorse the confidentiality agreement. The

Court discourages unnecessary stipulated motions for a protective order. The Court will enforce

appropriate stipulated and signed confidentiality agreements.        See Local Rule 4.15.      Each

confidentiality agreement or order shall provide, or shall be deemed to provide, that “no party shall

file a document under seal without first having obtained an order granting leave to file under seal

on a showing of particularized need.” With respect to confidentiality agreements, the parties

agree as follows:

       The Parties agree to negotiate in good faith concerning a governing Confidentiality

Agreement in this case. The Parties further agree that to the extent either party intends to
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file information marked confidential, the filing party will provide notice to the opposing

party of such intention and allow the opposing party, if it chooses, to make the necessary

motion showing good cause of such information to be filed under seal.

         G.     Other Matters Regarding Discovery -

         Nothing at this time.

VI.      Settlement and Alternative Dispute Resolution.

         A.     Settlement -

                The parties agree that settlement is _____      likely ___X___ unlikely at this

                time

                The parties request a settlement conference before a United States Magistrate

Judge.          yes         X     no             likely to request in future

         B.     Arbitration

                The Local Rules no longer designate cases for automatic arbitration, but the parties

may elect arbitration in any case. Do the parties agree to arbitrate?

                   yes             X        no                 likely to agree in future

         _______ Binding         ________     Non-Binding

         C.     Mediation

                Absent arbitration or a Court order to the contrary, the parties in every case will

participate in Court-annexed mediation as detailed in Chapter Nine of the Court’s Local Rules.

The parties have agreed on a mediator from the Court’s approved list of mediators as set forth in

the table above, and have agreed to the date stated in the table above as the last date for mediation.

The list of mediators is available from the Clerk, and is posted on the Court’s web site at

http://www.flmd.uscourts.gov.
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        D.     Other Alternative Dispute Resolution -

        The parties intend to pursue the following other methods of alternative dispute resolution:

        The Parties agree to the mediator and mediation date as set forth above.

        Date: May 24, 2019.


  /s/ Ed Normand                                      /s/ Danielle C. Newman
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                                CERTIFICATE OF SERVICE
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           I hereby certify that on May 24, 2019, I electronically filed the foregoing with the Clerk of

 the Court by using the CM/ECF system which will send a notice of electronic filing to counsel of

 record.

                                                                 /s/ Jake Phillips
                                                                 Jacob L. Phillips
